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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                   Filed: March 31, 2020

* * * * * * * * * * * * * * * * * * *
MICHAEL BISCELGIA and LORI,           *
BISCELGIA, natural parents of N.E.B., *             UNPUBLISHED
a minor,                              *
                                      *             No. 19-91V
            Petitioner,               *
                                      *             Special Master Dorsey
v.                                    *
                                      *             Decision Based on Stipulation;
SECRETARY OF HEALTH                   *             Tetanus-Diphtheria-Acellular Pertussis
AND HUMAN SERVICES,                   *             (“Tdap”); Epilepsy.
                                      *
            Respondent.               *
                                      *
* * * * * * * * * * * * * * * * * * *

Carol L. Gallagher, Carol L. Gallagher, Somers Point, NJ, for petitioner.
Julia M. Collison, U.S. Department of Justice, Washington, DC, for respondent.

                          DECISION BASED ON STIPULATION1

       On January 17, 2019, Michael and Lori Bisceglia, natural father and mother, on behalf of
N.E.B., a minor (“petitioners”), filed a petition in the National Vaccine Injury Compensation
Program.2 Petitioners alleged that as a result of the Tetanus-diphtheria-acellular pertussis
(“Tdap”) vaccination administered to N.E.B. on September 20, 2017, N.E.B. suffered from
epilepsy. Petition at 1.


1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this decision
to individual sections of the Vaccine Act are to 42 U.S.C. § 300aa.
                                                1
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       On March 31, 2020, the parties filed a stipulation recommending an award of
compensation to petitioners. Stipulation (ECF No. 40). Respondent denies that the Tdap
vaccine administered on September 20, 2017 caused N.E.B.’s epilepsy, or any other injury.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       (1) A lump sum of $7,500.00 in the form of a check payable to petitioners, as legal
           guardian(s)/conservator(s) of the estate of N.E.B. for the benefit of N.E.B.

       These amounts represent compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

      The undersigned approves the requested amount for petitioners’ compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

       IT IS SO ORDERED.

                                                     s/Nora B. Dorsey
                                                     Nora B. Dorsey
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
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